09 Document 27-2 Filed on 11/01/20 in T
Case 4:20-cv-03709 Document 27-2 Filed on 11/01/20 in TXSD Page 2 of 7
Case 4:20-cv-03709 Document 27-2 Filed on 11/01/20 in TXSD Page 3 of 7
Case 4:20-cv-03709 Document 27-2 Filed on 11/01/20 in TXSD Page 4 of 7
Case 4:20-cv-03709 Document 27-2 Filed on 11/01/20 in TXSD Page 5 of 7
ase 4:20-cv-03709 Document 27-2 Filed on 11/01/20 in TXSD Page 6 of
09 Document 27-2 Filed on 11/01/20 in T
